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                      UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                           MAR 1 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.    18-30228

                Plaintiff-Appellee,             D.C. No. 3:15-cr-00438-JO-1
                                                District of Oregon,
 v.                                             Portland

WINSTON SHROUT,                                 ORDER

                Defendant-Appellant.

Before: CANBY and GRABER, Circuit Judges.

      In reviewing the district court’s denial of release pending appeal, we review

factual determinations for clear error and legal determinations de novo. United

States v. Garcia, 340 F.3d 1013, 1015 (9th Cir. 2003).

      The district court did not err in finding that appellant has not shown, by clear

and convincing evidence, that appellant is not likely to pose a danger to the safety

of any other person or the community if released. See 18 U.S.C. § 3143(b); United

States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985). Accordingly, appellant’s

motion for bail pending appeal (Docket Entry No. 6) is denied.

      Appellant’s motion to extend time to file the opening brief (Docket Entry

No. 18) is granted.




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      The opening brief and excerpts of record are due March 18, 2019; the

answering brief is due April 17, 2019; and the optional reply brief is due within 21

days after service of the answering brief.




LAB/MOATT                                    2
